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                       UNITED STATES DISTRICT COURT                      FILED
                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                        I N~     6 2011 ]
                                                                    CLERK, u.s. DfSTRlCT COURT
UNITED STATES OF AMERICA,                  CASE NO. llCR5082         HERN OflTRICT OF CA.UFORHIA
                                                                                           DEPUTY
                      Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
MARTIN IGNACIO VILLALOBOS­
TORRES (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 x __ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Information:

     8:1324(a) (1) (A) (ii)and(v) (II)



          IT IS THEREFORE ADJUDGED that the


 DATED: 11/16/11


                                                    STATES DISTRICT JUDGE
